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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

CONFIGAIR LLC,                                )             Lead Docket No.:
                                              )             3:17-cv-02026 (JBA)
            Plaintiff/Counterclaim Defendant, )             U.S.D.C./New Haven
                                              )
      v.                                      )              Judge Janet Bond Arterton
                                              )
HENRY KURZ                                    )
                                              )
            Defendant/Counterclaimant.        )
__________________________________________)                 May 13, 2019


                    MOTION FOR LEAVE TO FILE UNDER SEAL
              DECLARATION OF JESSICA S. RUTHERFORD IN SUPPORT OF
                   MOTION FOR WITHDRAWAL OF APPEARANCE

        Pursuant to Federal Rule of Civil Procedure 5.2(d) and D. Conn. L. Civ. R. Rule 5,

Edmund J. Ferdinand, Jessica S. Rutherford and the firm of Ferdinand IP, LLC (collectively,

“Defendant’s Counsel”) respectfully move for leave to file under seal the declaration of Jessica

S. Rutherford (“Declaration”) in support of counsel’s Motion for Withdrawal of Appearance as

counsel of record for defendant/counterclaimant/third-party plaintiff Henry Kurz (“Kurz”) and

plaintiff Henry Kurz Consulting GmbH (“HKC”) filed on May 9, 2019. (Doc. 93).

        The Declaration contains information regarding communications between Attorneys

Ferdinand and Rutherford, on the one hand, and Kurz, on the other hand, concerning the

irreparable breakdown in the attorney-client relationship and Kurz and HKC’s de facto discharge

of counsel.

        This Motion for Leave to File Under Seal is narrowly tailored such that only those

portions of the Declaration, in which counsel claims to have a compelling need for

confidentiality, will be filed under seal.
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       For the foregoing reasons, Defendant’s Counsel respectfully requests that the Court grant

leave to file the above-identified document under seal and such other relief as may be just and

appropriate.



Dated: May 13, 2019

                                                     Respectfully submitted,


                                                     By _/s/ Jessica S. Rutherford______
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                                                     Attorneys for Defendant, Counterclaimant
                                                     and Third-Party Plaintiff, Henry Kurz, and
                                                     Plaintiff Henry Kurz Consulting GmbH
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this May 13, 2019 a true and correct copy of the foregoing

MOTION FOR LEAVE TO FILE UNDER SEAL was filed electronically. Notice of this filing

will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail

to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the Court’s CM/ECF System. I further certify that it was

served by electronic mail to Henry Kurz and Henry Kurz Consulting GmbH.



                                                      _/s/Jessica S. Rutherford____
                                                      Jessica S. Rutherford
